895 F.2d 1414
    Purk (Dwight)v.Hartzell Propeller, Inc., Fuller (Shirley), TRW
    NOS. 89-3789, 89-3790
    United States Court of Appeals,Sixth Circuit.
    FEB 13, 1990
    Appeal From:  S.D.Ohio
    
      1
      AFFIRMED.
    
    
      2
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Sixth Circuit provides by rule criteria for designating decisions for publication, and states that citation of unpublished decisions is 'disfavored,' though under prescribed conditions such decisions may be cited if counsel serves a copy on all parties and the Court.  Sixth Circuit Rules, Rule 24, 28 U.S.C.A.)
    
    